AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
        Sheet 1




                                        United States District Court
                                                               District of Maine
                      UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE
                                                                           (For Revocation of Probation or Supervised Release)
                                            v.
                               TRAVIS LEEMAN                               Case Number: 2:12-cr-00164-NT
                                                                           USM Number: 07452-036
                                                                                     David R. Beneman, Esq.
                                                                                              Defendant's Attorney


THE DEFENDANT:
     admitted guilt to violation of condition(s) Special Condition No. 4 and Preamble of the term of supervision.
     was found in violation of condition(s)         after denial of guilt.
     violation charge(s)        are withdrawn by the Government.

The defendant is adjudicated guilty of these violations:

 Violation Number              Nature of Violation                                                              Violation Ended
 One                           Violation of Special Condition 4: Defendant shall not use or                     January 29, 2022
                               possess any controlled substance, alcohol or other intoxicant; and
                               shall participate in a program of alcohol and substance abuse
                               therapy to the supervising officer’s satisfaction. This shall include
                               testing to determine if Defendant has used drugs or intoxicants.
                               Defendant shall submit to one test within 15 days of release from
                               prison and at least two, but not more than 120, tests per calendar
                               year thereafter, as directed by the supervising officer. Defendant
                               shall pay/co-pay for services during such treatment to the
                               supervising officer’s satisfaction. Defendant shall not obstruct or
                               tamper, or try to obstruct or tamper, in any way with any tests.

The defendant is sentenced as provided in page 3 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

     The defendant has not violated condition(s)                   and is discharged as to such violation(s) condition(s).

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States attorney of material changes in economic
circumstances.

 Last Four Digits of Defendant’s             9666                                    August 18, 2022
 Soc. Sec.:
 Defendant’s Year of Birth:                  1981                                    Date of Imposition of Judgment

 Defendant’s Residence Address:                                                      /s/ Nancy Torresen
   (City and State only)                     Portland, ME                            Signature of Judge

                                                                                     Nancy Torresen, U.S. District Judge
                                                                                     Name and Title of Judge

                                                                                     August 18, 2022
                                                                                     Date
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                                                          ADDITIONAL VIOLATIONS


 Violation Number                         Nature of Violation                                         Violation Ended
 Two                                       Violation of Preamble: The defendant shall not commit      January 27, 2022
                                           another federal, state, or local crime.
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        Sheet 2 – Imprisonment
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 CASE NUMBER:                  2:12-cr-00164-NT
                                                                   IMPRISONMENT

    The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of 24 months.


      The court makes the following recommendations to the Bureau of Prisons:


      The defendant is remanded to the custody of the United States Marshal.

      The defendant shall surrender to the United States Marshal for this district,
                 at           a.m. p.m. on          .
                 as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
                 before 2 p.m. on        .
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

      I have executed this judgment as follows:




    Defendant delivered on ______________ to ______________________________________________________
at ____________________ , with a certified copy of this judgment.



                                                                                   UNITED STATES MARSHAL


                                                                              By
                                                                                   DEPUTY UNITED STATES MARSHAL
